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UNITED STATES DISTRICT COURT_""'
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Western District of Washington

 

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BY DEPU`W

CaseNo. m3 iri-d§ i tow

 

In the Matter of the Search of

(Briej?y describe the property to be searched
or identify the person by name and addressj

Subject Goog|e accounts: gai|mc|ean49 gburnworthQBB,
ritadown19, gailmcieanl 9, ritadownunderS?, ritadown§O,
michae!kel|arG‘i; subject Comcast account michae|ke|iar

APPLICA'I`ION F(]R A SEARCH WARRANT

 

I, a federal law enforcement officer or an attorney for the government request a search warrant and state under
penalty of perjury that l have reason to believe that on the following person or property ridem.jrj/ rhepersm cir-describe the

pr'i]‘iig'§libi)ee egg%eg gng ibiiii gong]§ii)b'ject Comcast account as further described in Attachment A, which is attached
hereto end incorporated herein by this reference

located in the Western District ot` Washington , there is now concealed ndean she
person or describe the property to be seized):

 

See Attachment B and C, which is attached hereto and incorporated herein by this reference

The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
devidence of a crime;

dcontraband, fruits of crime, or other items illegally possessed;
Mproperty designed for use, intended for use, or used in committing a crime;
El a person to be arrested or a person who is unlawfully restrained

The search is related to a violation of:

Coa'e Sectz'on O_§%nse Descrz'pffon
Title 18, U.S.C. § 2252 (a)(2) Receipt or distribution of child pornography
Tit|e 18, U.S.C. § 2252(a)(4) Possession of child pornography
(B)

The application is based on these facts:
See attached Afiic|avit

d Continued on the attached sheet.

!'J Deiayed notice of days (give exact ending date if more than 30 days: ) is requesth
under 18 U.S.C. § 3103&, the basis of which is set forth on the attached sheet.

@\Q_S"

Applicant'.s' signature
SPECIAL AGENT iNGRID ARBUTHNOT-STOHL, FB|

Prr'n!ed name and title

Sworn to before me and signed in my presence . f
Date: qlgf@l Z \\ UW
Judge '.s' Szgnature

City and state: TACOMA, WASHINGTON DAV|D W. CHR|STEL, U.S. MAG|STRATE JUDGE

Prr'med name and title

  

 

2017R00821

 

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ATTACI'IMENT A
Accounts to be Searched
'I'he electronically stored data, information and communications contained in, related
to, and associated with, including all preserved data under reference numbers 1163635,
1163637, and 1163836, associated with Google accounts gailmclean49@gmail.com,
gburnworthQB$@gmail.com, ritadownl9@gmail.com, gailmcleanl9@grnail.com,
ritadownunder?)?@gmail.com, dtadown$G@gmail.com, and michaelkellarl)l@gmail.com, as
well as all other subscriber and log records associated with the accounts, which are located at
premises owned, maintained, controlled or operated by Google, an email provider
headquartered at 1600 Amphitheatre Parkway, Mountain View, California, 94043.

The electronically stored data, information and communications contained in, related
to, and associated with, including all preserved data associated with Coincast Cablc
Communications account michaelkellar@comcast.net, as well as all other subscriber and log
records associated with the account, which are located at premises owned, maintained,
controlled or operated by Comcast Cable Communications, an email provider headquartered
at 650 Centerton Road, Moorestown, NJ 08057.

ATTACHMENT A - l curran sTATES ATToRNEY

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ATTACHMENT B
I. Section I - Information to be disclosed by Google for search:

To the extent that the information described in Attachment A is within the possession,
custody, or control of Google, including any ernails, records, files, logs, or information that
has been deleted but is still available to Google. Google is required to disclose the
following information to the government for each account or identiiier listed in Attachment
A:

a. 'lhe contents of all emails associated with the account, including stored
or preserved copies of entails sent to and from the account, draft emails, the source and
destination addresses associated with each email, the date and time at which each email was
sent, and the size and length of each email, and any attachments to such emails;

b. All records or other information regarding the identification of the
account, to include full name, physical address, telephone numbers and other identifiers,
records of session times and durations, the date on which the account was created, the length
of service, the IP address used to register the account, log~in IP addresses associated with
session times and dates, account status, alternative email addresses provided during
registration, methods of connecting, log files, and means and source of payment (including
any credit or bank account number);

c. The types of service utilized;

d. Al_l records or other information stored at any time by an individual
using the account, including address books, contact and buddy lists, instant messages, and
instant messenger contact infonnation, calendar data, pictures, and files

e. All records pertaining to communications between Google and any

person regarding the account, including contacts with support services and records of actions
taken.

II. Section II - Information to be seized by the government

All information described above in Section I that constitutes contraband, evidence,
fruits, or instrumentalities of the following crimes committed in or after June 2016: 18
U.S.C. § 2251(a), (e) (Conspiracy to Produce Child Pornography), 18 U.S.C. § 2252(a)(2)

ATTACHN[ENT B - 1 UNITED STATES A’[`TORNEY

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(Receipt or Distribution of Child Pornography), 18 U.S.C. § 2252(a)(4)(B) (Possession of
Child Pornography), and 18 U.S.C. § 2422(b) (Attempted Enticement of a Minor),

a. All email or other communications related to visual depictions of
minors engaged in sexually explicit conduct or the sexual exploitation/abuse of minors;

b. All email or other communications related to the conspiracy to produce
child pornography involving MICHAEL KELLAR and GAIL BURNWORTH, including
those that identify the participants or acts committed in furtherance of that conspiracy;

c. All visual depictions of minors engaged in sexually explicit conduct;

d. All messages, documents, and profile information, attachments, or other
data that serves to identify any persons who use or access the account specified, or who
exercise in any way any dominion or control over the specified account;

e. Any address lists or buddy/contact lists associated with the specified
account;

f. All subscriber records associated with the specified account, including
name, address, local and long distance telephone connection records, or records of session
times and durations, length of service (including start date) and types of service utilized,
telephone or instrument number or other subscriber number or identity, including any
temporarily assigned network address, and means and source of payment for such service)
including any credit card or bank account number;

g. Any and all other log records, including IP address captures, associated
with the specified account; and

h. Any records of communications between Google and any person about
issues relating to the account, such as technical problems, billing inquiries, or complaints
from other users about the specified account This to include records of contacts between the
subscriber and the provider’s support services, as well as records of any actions taken by the
provider or subscriber as a result of the communications

Notwithstanding the criminal offenses defined under 18 U.S.C. § 2252 and 2252A or
any similar criminal offense, Goog!e shall disclose information responsive to this
warrant by mailing it to Federal Bureau of lnvestigatit'»na Attn: Special Agent Ing;id
Arbuthnot-Stohl at 1110 Third Ave Seattle WA 98101 or via email to iarbuthnot-

stohl@fbi.gov.

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ATTACI-IMENT C
I. Section I - Inform_ation to be disclosed by Comcast Cable Communications for
search:

To the extent that the information described in Attachment A is within the possession,
custody, or control of Comcast, including any emails, records, files, logs, or information that
has been deleted but is still available to Comcast. Comcast is required to disclose the
following information to the government for each account or identifier listed in Attachment
A:

a. The contents of all emails associated with the account, including stored
or preserved copies of emails sent to and from the account, draft emails, the source and
destination addresses associated with each email, the date and time at which each email was
sent, and the size and length of each email, and any attachments to such emails;

b. All records or other information regarding the identification of the
account, to include full name, physical address, telephone numbers and other identifiers,
records of session times and durations, the date on which the account was created, the length
of service, the IP address used to register the account, log-in IP addresses associated with
session times and dates, account status, alternative email addresses provided during
registration, methods of connecting, log files, and means and source of payment (including
any credit or bank account number);

c. The types of service utilized;

d. All records pertaining to communications between Comcast and any

person regarding the account, including contacts with support services and records of actions
taken

II. Section II - Information to be seized by the government

All information described above in Section I that constitutes contraband, evidence,
fruits, or instrumentalities of the following crimes committed in or after June 2016: 18
U.S.C. § 2251(a), (e) (Conspiracy to Produce Child Pornography], 18 U.S.C. § 2252(a)(2)
G{eceipt or Distribution of Child Pornography), 18 U.S.C. § 2252(a)(4)(B) (Possession of
Child Pornography), and 18 U.S.C. § 2422(b) (Attempted Enticernent of a Minor),

ATTACHMENT C - l ` uNrrED sTArEs ArronNEv

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a. All email or other communications related to visual depictions of
minors engaged in sexually explicit conduct or the sexual exploitation/abuse of minors;

b. All email or other communications related to the conspiracy to produce
child pornography involving MICHAEL KELLAR and GAIL BURNWORTH, including
those that identify the participants or acts committed in furtherance of that conspiracy',

c. All visual depictions of minors engaged in sexually explicit conduct;

d. All messages, documents, and profile information, attachments, or other

data that serves to identify any persons who use or access the account specified, or who
exercise in any way any dominion or control over the specified account;

e. All subscriber records associated with the specified account, including
name, address, local and long distance telephone connection records, or records of session
times and durations, length of service (including start date) and types of service utilized,
telephone or instrument number or other subscriber number or identity, including any
temporarily assigned network address, and means and source of payment for such service)
including any credit card or bank account number;

f. Any and all other log records, including IP address captures, associated
with the specified account; and

g. Any records of communications between Google and any person about
issues relating to the account, such as technical problems, billing 'inquiries, or complaints
from other users about the specified account This to include records of contacts between the
subscriber and the provider’s support services, as well as records of any actions taken by the
provider or subscriber as a result of the communications

Notwithstanding the criminal offenses defined under 18 U.S.C. § 2252 and 2252A or
any similar criminal offense, Google shall disclose information responsive to this

 

warrant by mailing it to Federal Bureau of Investigation, Attn: Sgeciai Agent Ingrid
Arhuthnot-Stohl at 1110 Third Ave Seattle WA 98101 or via email to iarbuthnot-
stohl@fbi.gov.
ATTACHMENT C - 2 UNirEo sTA'IEs ATTORNE¥
USAO #20] moogz] 700 STEWART Sriinn'r, SUi'IE 5200

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{206) 553-1970

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AFFIDAVIT

STATE OF WASHINGTON )
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COUNTY OF PIERCE

I, Ingrid Arbuthnot-Stohl, being first duly sworn, depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I am a Special Agent with the Federal Bureau of Investigation (FBI), assigned
to the Special Agent in Charge in Seattle, Washington. lhave been an agent with the FBI
since December 2010. As part of my daily duties as an FBI agent, l investigate criminal
violations relating to child exploitation and child pornography, including violations of Title
18, United States Code §§ 2251(a), 2252A, 2422, and 2423. lhave received training in the
area of child pornography and child exploitation, and have observed and reviewed numerous
examples of child pornography in numerous forms of media, including media stored on
digital media storage devices such as computers, iPhones, etc. I have also participated in the
execution of numerous search warrants involving investigations of child exploitation
offenses l have participated in numerous operations targeting the trafficking of women and
children for prostitution, and am versed in the methods and motivations of those who
sexually exploit women and children for financial gain. I am a member of the Seattle
lntemet Crirnes Against Children (ICAC) Task Force in the Western District of Washington,
and work with other federal, state, and local law enforcement personnel in the investigation
and prosecution of crimes involving the sexual exploitation of` children.

2. 1 make this affidavit in support of an application for a search warrant for
information associated with the following email accounts: gailmclean49@gmail.com,
gburnworth983@gmail.eom, ritadowle@gmail.com, gailmcleale@gmail.com,
ritadownunder37@gmail.coni, ritadownSO@gmail.com, and michaelkellarOl@gmail.coin
(SUBJECT GOOGLE ACCOUNTS), that is stored at premises controlled by Google, an
email provider headquartered at 1600 Amphitheatre Parkway, Mountain View, California,

Affidavit of Ingrid Arbutl'mot»Stoh.l- l U`NlTED STATES ATTORNEY

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94043, as well as information associated with the email account michaelkellar@comcast.net
(SUBIECT COMCAST ACCOUNT), that is stored at the premises controlled by Comcast
Cable Communications, an email provider headquartered at 650 Centerton Road,
Moorestown, NJ 08057. The information to be searched is described in the following
paragraphs and in Attachment A. This affidavit is made in support of an application for a
search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require
Google and Comcast to disclose to the government copies of the information (including the
content of communications) further described in Section l of Attachment B (Google) and
Attachment C (Comcast). Upon receipt of the information described in Section I of
Attachment B and Attachment C, government-authorized persons will review that
information to locate the items described in Section ll of Attachment B and Attachment C.

3. The facts set forth in this Affidavit are based on my own personal knowledge;
knowledge obtained from other hidividuals during my participation in this investigation,
including other law enforcement officers; review of documents and records related to this
investigation; communications with others who have personal knowledge of the events and
circumstances described herein; and information gained through my training and experience
Because this Affidavit is submitted for the limited purpose of establishing probable cause in
support of the application for a search warrant, it does not set forth each and every fact that I
or others have learned during the course of this investigation

4. Based on my training and experience and the facts as set forth in this affidavit,
there is probable cause to believe that violations of 18 U.S.C. § 2251(a), (e) (Conspiracy to
Produce Child Pornography), 18 U.S.C. § 2252(a)(2) (Receipt or Distribution of Child
Pornography), 18 U.S.C. § 2252(a)(4)(B) (Possession of Child Pornograpliy), and 18 U.S.C.
§ 2422(b) (Attempted Enticement of a Minor) (the TARGET OFFENSES) have been
committed by GAiL BURNWORTH end mcHAEL xELLAR end that evidence fruits,
contraband, or instrumentalities of the TARGET OFFENSES as described in Attachments B

and C will be found in the information described in Attachment A.

Affidavit of Ingrid Arbuthnot-Stohl- 2 7Ié;\l§l'ED STJ;WS il\TTOFJ~;Ez‘B’0
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THE INVESTIGATION
5. This investigation originated with the San lose Police Department, Silicon
Valley ICAC Task Force. I reviewed reports from the San Jose Police Department, and the
following is a summary of information gleaned h‘om those reports:

a. On July 31, 2017, Det. Jourdenais of the San Jose Police Department
was dispatched to the San Jose Minetta lntemational Airport. Upon arriving at the airport,
he learned that a reporting witness (RW) approached police about an incident that occurred
on her flight from Seattle, Washington to San Jose. RW saw an adult male seated in front of
her using a cell phone to text another person. RW became concerned when the messages,
which RW could clearly read, appeared to breach the subject of child molestation RW used
her cell phone to take pictures of the suspect’s cell phone and his conversation RW showed
the pictures to the police and emailed copies were forwarded to Det. Jourdenais

b. Det. Jourdenais reviewed those photos, which showed a conversation
between the suspect and someone named “Gail.” The suspect and Gail were discussing plans
for Gail to video herself pulling down an unknown child’s underwear, rubbing the child’s
genitalia, and sending the video to the suspect The screen shots also show Gail saying that
she needed to wait for “the parents” to be away, and that she had the kids on Sunday.

c. Det. Jourdenais encountered the suspect, later identified as M]CHAEL
KELLAR at the airport After a brief discussion and explanation of RW’s concerns,
KELLAR agreed to hand over his cell phone and to accompany officers to the San Jose
Police Department for an interview. Police transported KELLAR in an unmarked police car.
KELLAR was not handcuffed and was told that he was not under arrest ln a recorded
interview, KELLAR provided the following information

d. KELLAR said he had been traveling from Seattle to San lose for work.
He explained he lived in Tacoma, Washington, and was divorced with two children
KELLAR explained that he wanted to be as helpful as possible KELLAR said that he could
understand RW’s concern because the person with whom he was texting was very kinky and
the two of them were discussing “scat” videos. In response to the questions about the
mention of children, KELLAR explained that Gail lived with K.B. and his wife, and that
K.B. had several children, two of whom were “young children.”

e. KELLAR said that the only cell phone that he had on his person was his
personal cell phone and that it was locked with a passcode. KELLAR agreed to let the police
examine his phone and provided the password.

f. Det. Jourdenais used a forensic cell phone analysis tool to analyze
KELLAR’s phone. lncluded in the forensic report were deleted messages between KELLAR

At`iidavit of Ingrid Arbutlmot-Stohl- 3 UNrrEn srATEs ArToRNEY

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and an unknown cell phone number. At one point during the text exchange, KELLAR refers
to the other person as “Gail.” Among KELLAR’s contacts was an individual named Gail
McLean, with an address in Tacoma, Washington, and the phone number 253 441 6440.
Among the things requested of Gail were videos of Gail engaged in bestiality, fetish
behavior involving feces, and “kid videos.” KELLAR provided his email addresses to
investigators as: michaelkellar@comcast.net and michaelkellarOl@gmail.com, and said he
has communicated with BURNWORTH from his accounts to at least one account belonging
to the BURNWORTH that he could recall: gburnworth9 83 @grnail.com.

g. Based on KELLAR’s text conversation as well as his statementj Det.
Jourdenais concluded that KELLAR and Gail, later identified as GAlL BURNWORTH
xx/xx/1966, were collaborating to molest children, as well as film the assault At that point,
KELLAR was arrested and taken into custody.

h. Det. Jourdenais contacted Det. Conine from the Seattle lnternet Crimes
Against Children Task Force for assistance Det. Conine sent Det. Jourdenais an email that
included a picture from GAlL BURNWORTH’s driver`s license, Washington DL #
BURNXXXXXXXX. After being shown this photo, KELLAR identified GAIL
BURNWORTH as the person with whom he had been texting.

i. KELLAR’s interview continued after he was taken into custody and
advised of his constitutional rights. Among other things, KELLAR acknowledged being
aware that BURNWORTH lived with three minors, two of whom he described as “young,”
and that he likely had a sexual interest in children However, when confronted about the
specific references to abusing these children, he said he was engaged in fantasy.

6. 1 have reviewed a portion of the text conversation referenced by Det.
Jourdenais that took place in late July 2017. These excerpts reflect, among other things, a
conversation between KELLAR and BURNWORTH in which KELLAR and
BURNWORTH discuss engaging in sexual acts with a boy and a girl, believed to be CVl
and CV2. KELLAR discusses BURNWORTH performing sex acts on both children and her
assisting him in anally raping each child. The two also discuss giving the children Benadryl
so they will be unconscious during the abuse. lt appears that this exchange is what KELLAR

explained to Det. Jourdenais was simply fantasy.

A.'fi'ldavl't Of Ingrid Arbuthnot-Stol'll- 4 UNITED STATES ATTORNEY

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USAO #2017R00821 SEATTLE, WAsltmG'roN 98101

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Case 3:17-mj-05166-DWC Document 1 Filed 09/29/17 Page 11 of 30

7. As noted above_., the case was referred to Det. Conine with the Seattle Police
Department I have reviewed a search warrant affidavit prepared by Det. Conine and provide
a summary of his mvestigation below:

a. Det. Conine received the case referral from the San lose Police
Department on July 31 , 2017. Det. Conine reviewed the photographs of the text conversation
between KELLAR and BURNWORTH.

b. ln one of the photographs taken by RW, BURNWORTH says, “Honey 1
went by taking pics... the kids and th.. when they fall a. .. sleep 1 well I will. . . take the
little Girl and then I will hold out her panties and spread her legs and take pictures of her
little p**** and then l’ll take my finger and gently rub your p**** Very lack Knight and
then I. . .” (Part of the message Was blocked by KELLAR’s head.)

c. Another photograph depicts an exchange were KELLAR asks, “. . .you
can do this or are you just saying this???” Gail then responds, “No l think l can-do it if I
don’t have parents over my shoulder or won'ied about who’s going to walk in on me And
then on Sunday l will have the kids no parents just kids.”

8. I have reviewed reports and engaged in conversations with Det. Conine and
Special Agent Kyle McNeal of the Federal Bureau of Investigation. Below is a summary of
their investigation:

a. On July 31, 2017, Det. Conine obtained a search warrant for GAlL
LYNN BURNWORTH and her Tacoma, Washington, residence. Det. Conine also obtained
a search warrant for MICHAEL KELLAR’s Tacoma, Washington, home. Law enforcement
arrived at BURNWORTH’s home, which she shares with K.B., A.B., and three minors.
Upon arriving at the home, law enforcement learned from the other occupants that
BURNWORTH was housesitting at another home just a few blocks away. Upon identifying
this home, Det. Conine and SA McNeal traveled there to interview BURNWORTH.

b. Upon arriving at this residence, GAIL BURNWORTH opened the door
and allowed Det. Conine and SA McNeal to enter. She was concerned, and they advised her
that a search warrant was being executed at her residence and that they wished to speak with
her about the investigation BURNWORTH had a cellphone in her hand when she came to
the door and as they stepped into the home, she walked over to a couch and sat down next to
an open laptop computer, which she said was hers. Det. Conine and SA McNeal advised
BURNWORTH that because they were inside a home that did not belong to her, they would
prefer to interview her outside in an unmarked van She agreed to go outside and speak with
thern.

Aft'idavit of Ingrid Arbuthnot-Stohl- 5 UNrrED sTA”iEs ATToRNEv

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c. BURNWORTI-I’s cellphone and laptop computer were seized as
evidence Though she stated she was staying at the home for several days and had other
property inside, none of her other belongings, nor. any part of the residence were searched by
law enforcement

d. Det. Conine and SA McNeal escorted BURNWORTH to an unmarked
police van and began the interview, which was audio and video recorded Though she was
advised that she was not under arrest and was not placed in handcuffs,' out of an abundance
of caution, Det. Conine advised BURNWORTH of her Mirana'a rights, which she said she
understood

e. During the interview, BURNWORTH admitted that she knew
M]CHAEL KELLAR and that she had met him in person on multiple occasions
BURNWORTH said that she met KELLAR on match.com about a year ago and that since
that time, she has visited his home several times. She confirmed that the two engaged in
sexual intercourse and fetish behavior involving feces. She said that several of these
encounters were video recorded

f. After some discussion, BURNWORTH acknowledged that she had a
sexual interest in children and that she is attracted to both boys and girls. She said her
preference was prepubescent children BURNWORTH stated that she produced several
videos of CVl iii which CVl was nude. She said that she recorded CVl when she knew CVl
would be nude or changing in order to avoid drawing attention to her activities She said she
never tried to perform any sexual acts on CVl.

g. BURNWORTH also stated that she sexually assaulted and produced
approximately ten depictions of child pornography involving CV2. She said that on multiple
occasions, she would bathe CVZ and record those interactions with her cell phone. She said
that she also recorded herself touching CVZ’s chest and digitally penetrating CVZ’s vaghia
and anus.

h. BURNWORTH estimated she created as many as fifteen to twenty
depictions of CVl and CVZ in total. She said that after producing these images and videos,
she sent them to KELLAR via email using one of several email accounts BUR.NWORTH
then deleted the files per the direction of KELLAR.

i. BURNWORTH acknowledged that she had a discussion with KELLAR
in which she was arranging a time for KELLAR to have a sexual encounter with CVl and
CVZ. lnitially, BURNWORTH stated that she would not have sex with the children When
asked if she would touch the children and participate in the encounter, however,
BURNWORTH said, “probably.” When asked if she would have taken pictures or videos of

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the encounter, BURNWORTH also said, “probably.” BURNWORTH advised that KELLAR
ultimately backed out on the arrangement before the appointed time, telling her, “Well, I’m
not coming, because l know you won’t go through with this.” BURNWORTH stated that
she did not even have access to CVl and CV2 at the time she and KELLAR planned the
encounter.

j. Despite her initial denial, BURNWORTH ultimately admitted that had
the opportunity presented itself, she would have allowed KELLAR to have sexual
intercourse with CVl and CV2 and that doing so may have required dragging them.

9. As noted above, Det. Conine also obtained a search warrant for KELLAR’s
home. Based on discussions with executing officers, l learned the following:

a. On August l, 2017, lCAC Task Force members arrived at 625 N
Jackson Ave, Apt Cl6, Tacoma, WA 98406. Among the items recovered from the home
were a safe, an Apple laptop, Apple desktop computer, Apple iPad, and several external
storage devices.

b. On August l, 2017, Det. Conine was able to open the safe seized from
KELLAR’s apartment using a code provided by KELLAR to the San lose police. The
contents included a loaded gun, ammunition, a wallet with several credit cards, a_vehiele key
and title for a 2015 Ford Mustang registered to KELLAR, a gunlock, a framed photograph,
miscellaneous paperwork, and a thumb drive.

10. As noted above, law enforcement seized BURNWORTl-l’s cell phone upon
encountering her. A search of that phone revealed hundreds of text communications between
KELLAR and BURNWORTI-l, including the conversation described above that Det.
Jourdenais found on KELLAR’s phone. l have copied below an excerpt of the messages
recovered from BURNWORTH’s phone, which show KELLAR and BURNWORTH
formulating a plante sexually exploit two children and for BURNWORTH to take photos of
the abuse. The excerpt also shows the two formulate a plan to drug the children so that
KELLAR can rape them. In the messages that follow, messages from KELLAR appear with
an “M,” and messages from BURNWOR”[H appear with a “G.”

M - 14470 - 7/28/2017 - So who is all there at the house?

G - 14471 - 7/28/2017 - Everyone except my ex husband the grandparents brought the

kids back very early this morning

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M - 14472 - 7/28/2017 - So the mother is home?

M - 14473 - 7/28/2017 - Anyway of getting some pics?

G - 1447-4 - 7/28/2017 - Yes the mother's home

M - 14475 - 7/28/2017 - Well anyway of getting some pics?
G - 14476 - 7/28/2017 - I can try okay

M - 14477 - 7/28/2017 - rhanks

M - 14478 - 7/28/2017 - BTW l love watching you eat shit &baby! It really turns me
onl ©Thank you so much!!! ®

G - 14479 - 7/28/2017 - You're welcome but better ones will come OK

M - 14480 - 7/28/2017 - That would be GREAT baby! il

M - 14481 - 7/28/2017 - Now get me some pics ©

M - 14482 - 7/28/2017 - Pics baby??? Maybe some parity shots???

M - 14483 - 7/28/2017 - If so wrestling with her and pulling them to the side?

M _ 14434 - 7/28/2017 - so no pies

G » 14485 - 7/28/2017 - I know right now but they're gonna come over on Sunday and
stay with me for the day Camera man to have something planned and [REDACTED]
asked me of they could come and stay with me while they go do what they’re doing
and l said yes

G - 14486 - 7/28/2017 - Nomad to say no not right now sorry

M - 14487 - 7/28/20]7 - What?

M - 14488 - 7/28/2017 - Nothing

M - 14489 - 7/28/2017 - No one pic? .

G - 14490 - 7/28/2017 - Honey I'rn trying 2 pac and I'm trying to get out of here but if
you want pictures of the kids l will do my very best OK

G - 14491 - 7/28/2017 - Sweet I'll have a kids on Sunday at Kerry is no adults just me
and the kids

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M - 14492 - 7/28/2017 - Well where are the pics???

G - 14493 - 7/28/2017 - lam son'yl layed my phone down I am here

G ~ 1449-4 - 7/28/2017 - I seen that you called

M - 14495 - 7/28!2017 - Yes I did. Where are the pics???

G - 14496 - 7/28/2017 - lhave left the house and I well have the kids on Sunday

G - 14497 - 7/28/2017 - And you can have all the pics you wont

M _ 14493 - 7/28/2017 ~ ©

M - 14499 - 7/28/2017 - So what does that mean? Tell me what you are going to do
with taking the pics baby?

G - 14500 - 7/28/20] 7 - Honey you well get pictures lpromise and you well get a lot
of the videos as well

M - 14501 - 7/28/2017 - Tell me what kind of pics you'll take for me angel?

M - 14502 - 7/28/2017 - Well???

G - 14503 - 7/28/2017 - Honey I well start by taking pics of the kids and then when
they fall a sleep l well I will take the little Girl and then I will hold out her panties and
spread her legs and take pictures of her little p**** and then l'll take my finger and
gently rub.your p**** Very lack Knight and then I will take my Finger and stick it In
her p**** and slowly Robert in-and-out and then I will take her in turnover and
Annabelle open upper cheeks he could see her a****** and then 1 will stick my finger
in her a** l gently rub it and then stick my finger in-and-out of it

G - 14504 - 7/28/201'7 - And then I'll take the boy and I pull down his pants And
stroke his d*** until its heart and then l will put my mouth on his d*** I'rn very
gently rub my mouth on it and then I will turn him over its bright his butt checks apart
and show you his a****** l will rub his a****** and l will take My finger and gently
put it in-and-out of his Butthole

M - 14505 - 7/28/201'7 - Do you really think you can do this or are you just saying
this???

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G - 14506 - 7/28/2017 - No I think l can-do it if I don't have parents over my shoulder
or worried about who's going to walk in on me

G - 14507 - 7/28/2017 - And then on Sunday l will have the kids no parents just kids
M - 14508 - 7/28/2017 - You‘ll have to give them lots of Benadryl

G - 14509 - 7/28/2017 - Honey I know

M - 14510 - 7!28/2017 - Do you think I could fuck them?

M - 14511 - 7/28/2017 - Well?

M - 14512 - 7/28/2017 - I take that as a no???

G - ]4513 - 7/28/2017 - No honey l am sorry but know

M -14514 - 7/28/2017 - What?

G - 14515 - 7/28/2017 - you ask me if l could i*** the kids I don't think l could bring
myself to do that I'm sorry

M -14516 - 7/28/2017 - No me

M - 14517 - 7/28/2017 - I thought you said you would suclc his little dick and eat her
pussy‘?

G - 14518 - 7/28/2017 - Yes honey I well do that but I do not think I can have sex
with them '

G _ 14519 - 7/28/2017 - Sweetheart their 5 in 7

G - 14520 - 7/28/201'7 - Honey is that something you would like to do

G - 14521 - 7/28/2017 - ls f***** the kids

M - l4522 » 7/28/2017 - So you’ll suck his little dick and eat her little pussy?

G - 14523 - 7/28/2017 - Yes

M - 14524 - 7/28/2017 - Well isn't that sex?

G - 14525 - 7/28/2017 - Yes oral sex

M - 14526 - 7/28/2017 ~ So will you do this with me there if you can get them
knocked out with Benadryl?

G - 14527 - 7/28/2017 - Yes I well

M - 14528 - 7/28/2017 - Will you guide my dick in their buttholes?

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G - 14529 - 7/28/2017 - Did you wanna come here this weekend You can If you
would like to
G - 14530 - 7/28/2017 - Yes
M _ 14531 - 7/28/2017 - You will really do this baby???
G - 14532 - 71’28/2017 - Yes
M - 14533 - 7/28/2017 - Why?
G - 14534 - 7/28/2017 - Because I know this is something that you would really like
to do~and I would love to do with you
M - 14535 - 7/28/2017 - Would you really? Sometimes I think you just do this for me!
G - 14536 - 7/28/2017 - I'm doing it because l want to and I know it's a big party your
fantasies
G - 14537 - 7/28/2017 - Sorry l meant to say big part not party
G - 14538 - 7/28/2017 - Sweetheart are you working on your way home
M - 14539 - 7/28/2017 - Do you think you can knock them out enough with the
' Benadryl?
G - 14540 - 7/28/2017 - l don't know what we can sure give it a big try
M - 14541 - 7/28/2017 - Only if you think it will be safe!
M - 145-42 - 7/28/2017 - I'd love to butt Fuck her and pull it out with shit on my dick
and have you suck it clean while l was cummingl!!
//////
M - 14747 - 7/31/2017 ' Do you have the kids
M - 14748 - 7!31/2017 - Will l get all the videos today?
G - 14749 - 7/31/2017 a Yes I do
G - 14750 - 7/31/2017 - lam going to have them until Tuesday night
M - 14751 - 7/31/2017 - Can you take some pics of them right now for rne?
G - 14752 - 7/31/2017 - Not right now I can‘t their mother is here bringing me more
clothes But in a little while I can okay
M -14753 - 7/31/2017 - When

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M - 14754 - 7/31/2017 - Can l get all the videos today?

G - 14755 - 7/31/2017 - Yes you can have videos today

G - 14756 - 7/31/2017 - After she leaves l will start doing videos for you OK

///////

M - 14760 - 7/31/2017 - Can I have the following videos today baby: Dog shit eating

videos Dog sucking videos Kids videos

M - 14761 - 7/31/2017 - Maybe you can take the dogs outside when she leaves and

video then shitting. Then bring it in the house and make the dog shit eating videos?

M - 14762 - 7/31/2017 - Then some of the kids in their underwear?

G - 14763 - 7/31/2017 - Okay

G - 14764 - 7/31/2017 - But she still here

G - 14765 - 7/31/2017 - I will let you know when she leaves OK

M - 14766 - 7/31/2017 - I'm hoping you are going to make all my videos today baby?

G - 14767 - 7/31/2017 - l well make videos of you today©

M - 14768 - 7/31/2017 - And tonight too?

M - 14769 - 7/31/2017 - Do you have Benadryl?

G - 14770 - 7/31/2017 -Yes I do have Benadryl

ll. CVl and CV2 are both children under the age of twelve. KELLAR is more
than twenty-four months older than both CVl and CVZ. Were KELLAR to have engaged in
sexual intercourse with either, he would be in violation of RCW 9A.44.073, Rape of a Child
in the First Degree.

12. On August 4, 2017, SA McNeal appeared before U.S. Magistrate Judge J.
Richard Creatura to swear out a complaint charging KELLAR with Attempted Enticement of
a Minor in violation of 18 U.S.C. § 2422(b) and both KELLAR and BURNWORTH with
conspiring to produce child pornography in violation of 18 U.S.C. § 225 l (a), (e). Magistrate
Judge Creatura found the complaint stated probable cause and issued arrest warrants for both
KELLAR and BURNWORTH. On September 6, 2016, a grand jury sitting in the Western

District returned an indictment containing the same charges

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13. During the search of BURNWORTH’s residence, police also seized a Samsung
Galaxy 56 cellphone from her bedroom A forensic examination of that device revealed
multiple videos depicting CVZ and BURNWORTH. These videos show CVZ bathing or
having just bathed. In each of these videos, CVZ is nude and in several videos,
BURNWORTH is shown rubbing CVZ’s nipples and genitals with a towel. These videos
appear consistent with the description BURNWORTH gave of the exploitive videos she
created involving CVZ. The metadata for these videos suggest they were created in June
2017. According to Det. Randy Kyburz, the forensic analyst who examined the phone, these
videos were recovered from a location on the phone suggesting that the user of the phone had
attempted to email them.

k 14. According to BURNWORTH, she sent many of the depictions of CVl and
CVZ to KELLAR via email. When asked, BURNWORTH recalled using several different
email accounts to do so: gburnworth983@gmail.com, gailmclean49@gmail.com,
gailmcleanl Q@gmail.com, and ritadownl9@gmail.com. During a forensic examination of a
Samsung Galaxy S3 cellular phone seized from BURNWORTH, Seattle Police Department
Detective Randy Kyburz also identified the following email accounts were associated with
that phone: ritadoumunder?)’/'@gmail.com and ritadownSO@gmail.com. Det. Kyburz also
recovered emails sent from ritadownunder?)?@gmail.com to michaelkellar@comcast.net.

15. During his interview with the police, KELLAR identified two ernail accounts
that he regularly used: michaelkellar@comcast.net and michaelkellarl] l @grnail.com.

BACKGROUND REGARDING SERVICES OF GOOGLE and COMCAST

16. ln my training and experience, I have learned that Google and Comcast
provide a variety of on-line services, including electronic mail (“email”) access, to the
general public. Google allows subscribers to obtain email accounts at the domain name
grnail.com, like the gburnworth983@gmail.com email account listed in Attachment A.
Comcast allows subscribers to obtain email accounts at the domain name comcast.net, like

the michaelkellar@comcast.net account listed in Attachment A.

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17. Subscribers obtain an account by registering with Google or Comcast. When
doing so, email providers like Google and Comcast ask the subscriber to provide certain
personal identifying information This information can include the subscriber’s full name,
physical address, telephone numbers and other identifiers, alternative email addresses, and,
for paying subscribers, means and source of payment (including any credit or bank account
number). ln my training and experience, such information may constitute evidence of the
crimes under investigation because the information can be used to identify the account’s user
or users, and to help establish who has dominion and control over the account.

18. Email providers typically retain certain transactional information about the
creation and use of each account on their systems This information can include the date on
which the account was created, the length of service, records of log-in (i.e., session) times
and durations, the types of service utilized, the status of the account (including whether the
account is inactive or closed), the methods used to connect to the account (such as logging
into the account via Google’s Gmail website or Comcast’s website), and other log liles that
reflect usage of the account ln addition, email providers often have records of the lntemet
Protocol address (“IP address”) used to register the account and the IP addresses associated
with particular logins to the account Because every device that connects to the lntemet must
use an IP address, lP address information can help to identify which computers or other
devices were used to access the email account, which can help establish the individual or
individuals who had dominion and control over the account

19. ln general, an email that is sent to a Google or Comcast subscriber is stored in

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the subscriber’s mbox” on Google’s Gmail servers and Comcast’s email servers until the
subscriber deletes the email. If the subscriber does not delete the message, the message can
remain on Google’s servers or Comcast’s servers indefmitely. Even if the subscriber deletes
the email, it may continue to be available on Google’s servers or Comcast’s serversfor a
certain period of time,

20. When the subscriber sends an email, it is initiated at the user’s computer,

transferred via the lnternet to the intemet provider’s servers, and then transmitted to its end

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destination Google and Comcast often maintain a copy of the email sent. Unless the sender
of the email specifically deletes the email from the Google server or Comcast server, the
email can remain on the system indefinitely Even if the sender deletes the email, it may
continue to be available on Google’s servers or Comcast’s servers for a certain period of
time,

21. A senior received email typically includes the content of the message, source
and destination addresses, the date and time at which the email was sent, and the size and
length of the email. lf an email user writes a draft message but does not send it, that message
may also be saved by Google or Comcast, but may not include all of these categories of data.

22. A Comcast subscriber can also store files, including emails, on servers
maintained and/or owned by Comcast..

23. A subscriber to a Google Gmail account can also store files, including address
books, contact lists, calendar data, photographs and other files, on servers maintained and/or
owned by Google F or example, Google offers users a calendar service that users may
utilize to organize their schedule and share events with others Google also offers users a
service called Google Drive that may be used to store data and documents The Google
Drive service may be used to store documents including spreadsheets, written documents
(such as Word or Word Perfect) and other documents that could be used to manage a
website Google Drive allows users to share their documents with others or the public
depending on the settings selected by the account holder. Google also provides its users with
access to the photo storage service “Picasa.” Picasa can be used to create photo albums,
store photographs and share photographs with others. Another Google service called “You
Tube” allows users to view, store and share videos. Google also provides a service called
“Google Analytics. Google Analytics is a Google service that monitors website traffic and
provides subscribers with data relating to how much traffic is visiting the subscriber’s
website, which sections of the subscriber’s website users are visiting, how long users are
staying on particular sections of the site, and the geographical source of users visiting the

website, among other things.

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24. In some cases, email account users will communicate directly with an email
service provider about issues relating to the account, such as technical problems, billing
inquiries, or complaints from other users. Email providers typically retain records about
such communications, including records of contacts between the user and the provider's
support services, as well records of any actions taken by the provider or user as a result of
the communications In my training and experience, such information may constitute
evidence of the crimes under investigation because the information can be used to identify
the account’s user or users.

PAST EFFORTS TO OBTAIN THIS EVIDENCE

25. This evidence has not been previously available to me or other agents. On July
31, 2017, San lose Police Department sent a preservation letter to Google, requesting that
they preserve all evidence related to the accounts, michaelkellar@comcast.net,
michaelkellarOl@gmail.com, and gburnworth983@gmail.com, for a period of 90 days.
Google provided the reference numbers 1163635 and 1163637. Comcast did not provide
reference number. On August l, 2017, Seattle Police Department sent a preservation letter
to Google, requesting that the preserve all evidence related to the accounts,
gailmclean49@gmail.com, gburnworth983@gmail.com, ritadowle@gmail.com, and
gailmcleanl Q@gmail.com, for a period of 90 days. Google provided the reference number
l 163836.

[NFORMATIGN TO BE SEARCHED AND TI-]]NGS TO BE SEIZED

26. Pursuant to Title lS, United States Code, Section 2703(g), this application and
affidavit for a search warrant seeks authorization to permit Google and their agents and
employees, and Comcast and their agents and employees to assist agents in the execution of
this warrant Once issued, the search warrant will be presented to Google and Comcast, with
direction that the companies should identify the Google account or Comcast account
described in Attachment A to this affidavit as well as other subscriber and log records
associated with the accounts, as set forth in Section l of Attachment B(Google) or
Attachment C (Comcast) of this affidavit

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27 . The search warrant will direct Google and Comcast to create an exact copy of
the specified account and records

28. l, and/or other law enforcement personnel will thereafter review the copy of
the electronically stored data, and identify from among that content those items that come
within the items identified in Section II to Attachments B and C for seizure

29. Analyzing the data contained in the forensic image may require special
technical skills, equipment and software lt could also be very time-consuming Searching
by keywords, for example, can yield thousands of “hits,” each of which must then be
reviewed in context by the examiner to determine whether the data is within the scope of the
warrant Merely finding a relevant “hit” does not`end the review process Keywords used
originally need to be modified continuously, based on interim results Certain file formats,
moreover, do not lend themselves to keyword searches as keywords, search text, and many
common email, database and spreadsheet applications do not store data as searchable text
The data may be saved, instead, in proprietary non-text format And, as the volume of
storage allotted by service providers increases the time it takes to properly analyze
recovered data increases as well. Consistent with the foregoing, searching the recovered
data for the information subject to seizure pursuant to this warrant may require a range of
data analysis techniques and may take weeks or even months All forensic analysis of the
data will employ only those search protocols and methodologies reasonably designed to
identify and seize the items identified in Section II of Attachment B to the warrant

30. Based on my experience and training, and the experience and training of other
agents with whom l have communicated, it is necessary to review and seize a variety of
email communications chat logs and documents that identify any users of the subject
account and emails sent or received in temporal proximity to incriminating emails that

provide context to the incriminating communications

Afiidavit of Ingrid Arbuthnot-Stohl- 17 UNITED STATES ATTORNEY

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CONCLUSION

31. Based on the forgoing, l request that the Court issue the proposed search
warrants This Court has jurisdiction to issue the requested warrant because it is “a court of
competentjurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A) &
(c)(l)(A). Specifically, the Court is “a district court of the United States . . . that has
jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). Pursuant to 18
U.S.C. § 2703(g), the presence of a law enforcement officer is not required for the service or
execution of this warrant Accordingly, by this Affidavit and Warrantl seek authority for
the government to search all of the items specified in Section I of Attachments B and C and
specifically to seize all of the data, documents, and records that are identified in Section II to
of those same Attachments.

Dated this _Z_"_"_l_ day of September, 2017.

M

Ingrid Arbuthnot- Stohl, Affiant
Special Agent
Federal Bureau of Investigation

f.
SUBSCRIBED and SWORN to before me this 22 day of September, 2017.

ld»@law

DAVID W. CHR] STEL

United States Magistrate Judge
Affidavit of Ingrid Arbuthnot-Stoht- 18 uNlTED sTATEs ArToRNEY
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ATTACI-[MENT A
Accounts to be Searched
The electronically stored data, information and communications contained in, related
to, and associated witb, including all preserved data under reference numbers 1163635_.,
1163637, and 1163836, associated with Google accounts gailmclean49@gmail.com,
gburnworth983@gmail.com, ritadowle@gmail.com, gailmcleale@gmail.com,
ritadownunder37@gmail.com, ritadown$O@gmail.com, and michaelkellarOl@gmail.com, as
well as all other subscriber and log records associated with the accounts which are located at
premises owned, maintained, controlled or operated by Google, an email provider
headquartered at 1600 Amphitheatre Parkway, Mountain View, California, 94043.

The electronically stored data, information and communications contained in, related
to, and associated with, including all preserved data associated with Comcast Cable
Communications account michaelkellar@comcast.net, as well as all other subscriber and log
records associated with the account, which are located at premises owned, maintained,
controlled or operated by Comcast Cable Communications, an email provider headquartered
at 650 Centerton Road, lvloorestown, NJ 08057.

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A'ITACHMENT B
I. Section I - lnformation to be disclosed by Google for search:
'l`o the extent that the information described in Attachment A is within the possession,
custody, or control of Google, including any emails, records, files, logs, or information that
has been deleted but is still available to Google. Google is required to disclose the

following information to the government for each account or identifier listed in Attachment
A:

a. The contents of all emails associated with the account, including stored
or preserved copies of emails sent to and from the account, draft emails, the source and
destination addresses associated with each email, the date and time at which each email was
sent, and the size and length of each email, and any attachments to such emails;

b. All records or other information regarding the identification of the
account, to include full name, physical address, telephone numbers and other identifiers,
records of session times and durations, the date on which the account was created, the length
of service, the lP address used to register the account, log-in IP addresses associated with
session times and dates, account status, alternative email addresses provided during
registration, methods of connecting, log files, and means and source of payment (including
any credit or bank account number);

c. The types of service utilized;

d. All records or other information stored at any time by an individual
using the account, including address books, contact and buddy lists, instant messages, and
instant messenger contact infor'rnation, calendar data, pictures and files

e. All records pertaining to communications between Google and any

person regarding the account, including contacts with support services and records of actions
taken.

II. Section 11 - lnformation to be seized by the government
All information described above in Section l that constitutes contraband, evidence,
fruits, or instrumentalities of the following crimes committed in or after June 2016: 18
U.S.C. § 2251(a), (e) (Conspiracy to Produce Child Pornography), 18 U.S.C. § 2252(a)(2)
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(Receipt or Distribution of Child Pornography), 18 U.S.C. § 2252(a)(4)(B) (Possession of
Child Pornography), and 18 U.S.C. § 2422(b) (Attempted Enticement of a Minor),

a. All email or other communications related to visual depictions of
minors engaged in sexually explicit conduct or the sexual exploitation/abuse of minors;

b. All email or other communications related to the conspiracy to produce
child pornography involving MICHAEL KELLAR and GAlL BURNWORTH, including
those that identify the participants or acts committed in furtherance of that conspiracy;

c. All visual depictions of minors engaged in sexually explicit conduct;

d. All messages documents, and profile information, attachments or other
data that serves to identify any persons who use or access the account specified, or who
exercise in any way any dominion or control over the specified account;

e. Any address lists or buddy/contact lists associated with the specified
account;

f`. All subscriber records associated with the specified account, including
name, address, local and long distance telephone connection records, or records of session
times and durations, length of service (including start date) and types of service utilized,
telephone or instrument number or other subscriber number or identity, including any
temporarily assigned network address and means and source of payment for such service)
including any credit card or bank account number;

g. Any and all other log records, including IP address captures, associated
with the specified account; and

h. Any records of communications between Google and any person about
issues relating to the account, such as technical problems, billing inquiries, or complaints
from other users about the specified account This to include records of contacts between the
subscriber and the provider’s support services, as well as records of any actions taken by the
provider or subscriber as a result of the communications

Notwithstanding the criminal offenses defined under 18 U.S.C. § 2252 and 2252A or
any similar criminal offensel Google shall disclose information responsive to this
warrant by mailing it to Federal Bureau of lnvestigatiog, Attn: Special Agent Ingrid

Arbuthnot-Stohl at 1110 Third Ave, Seattle. WA 98101 or via email to iarhuthiiot-

stohl@fbi.gov.

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ATTACI-[MENT C
I. Section I - Information to be disclosed by Comcast Cable Communieations for
search: _

To the extent that the information described in Attachment A is within the possession,
custody, or control of Comcast, including any emails, records, files, logs, or information that
has been deleted but is still available to Comcast. Comcast is required to disclose the
following information to the government for each account or identifier listed in Attachment
A:

a. The contents of all emails associated with the account, including stored
or preserved copies of emails sent to and from the account, draft emails, the source and
destination addresses associated with each email, the date and time at which each email was
sent, and the size and length of each email, and any attachments to such emails;

b. All records or other information regarding the identification of the
account, to include full name, physical address, telephone numbers and other identifiers,
records of session times and durations, the date on which the account was created, the length
of service_., the IP address used to register the account, log-in lP addresses associated with
session times and dates, account status, alternative email addresses provided during
registration, methods of connecting, log files, and means and source of` payment (including
any credit or bank account number);

c. The types of service utilized;

d. All records pertaining to communications between Comcast and any

person regarding the account, including contacts with support services and records of actions
taken.

II. Section ll - lnformation to be seized by the government

All information described above in Section I that constitutes contraband, evidence,
fruits, or instrumentalities of the following crimes committed in or after June 2016: 18
U.S.C. § 2251(a), (e) (Conspiracy to Produce Child Pornography), 18 U.S.C. § 2252(a)(2)
(Rcceipt or Distribution of Child Pornography), 18 U.S.C. § 2252(a)(4)(B) (Possession of
Child Pornography), and 18 U.S.C. § 2422(b) (Attempted Enticement of a Minor),

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a. All email or other communications related to visual depictions of
minors engaged in sexually explicit conduct or the sexual exploitation/abuse of minors;

b. All email or other communications related to the conspiracy to produce
child pornography involving MICHAEL KELLAR and GAIL BURNWORTH, including
those that identify the participants or acts committed in furtherance of that conspiracy;

c. All visual depictions of minors engaged in sexually explicit conduct;

d. All messages, documents, and profile information, attachments, or other
data that serves to identify any persons who use or access the account specified, or who
exercise in any way any dominion or control over the specified account;

e. All subscriber records associated with the specified account, including
name, address, local and long distance telephone connection records, or records of session
times and durations, length of service (including start date) and types of service utilized,
telephone or instrument number or other subscriber number or identity, including any
temporarily assigned network address, and means and source of payment for such service)
including any credit card or bank account number;

f`. Any and all other log records, including IP address captures, associated
with the specified account; and `

g. Any records of communications between Google and any person about
issues relating to the account, such as technical problems, billing inquiries, or complaints
from other users about the specified account. This to include records of contacts between the
subscriber and the provider’s support services, as well as records of any actions taken by the
provider or subscriber as a result of the communications

Notwithstanding the criminal offenses defined under 18 U.S.C. § 2252 and 2252A or
any similar criminal offense, Google shall disclose information responsive to this
warrant by mailing it to Federal Bureau of luvestigatiog, Attn: Special Agent Ingrid

Arbuthnot-Stohl at 1110 Third Ave, Seattl§ WA 98101 or via email to iarbuthnot-
stohl@fbi.gov.

ATTACHMENT C - 2 UNITED sTArEs ATToRNEv

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)
I, , attest, under penalties of perjury under
the laws of` the United States of America pursuant to 28 U.S.C. § 1746, that the information
contained in this declaration is true and correct. I am employed by

and my official title is . I am a

 

custodian of records for I state that each of the records attached

 

hereto is the original record or a true duplicate of the original record in the custody of
and that l am the custodian of the attached records consisting of
(pages/CDs/kilobytes). l ftu'ther state that:
a. all records attached to this certificate were made at or near the time of the
occurrence of` the matter set forth, by, or from information transmitted by, a person with

knowledge of those matters;

 

b. such records were kept in the ordinary course of a regularly conducted business '
activity of k and
c. such records were made by as a regular practice

 

1 further state that this certification is intended to satisfy Rule 902(1 1) of the Federal

Rules of Evidence.

 

 

 

Date Signature
CERT]FICATE OF AU'I'HENTICITY - l UNITED STATES ATTORNEY
USAO #2017R00321 700 ST'.EWART Srnnn‘r, SUITE 5200

SEA'ITLE, WASHINGTON 98101
(206) 553-79?0

